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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                          *
       v.                                         * Case No. 21-cr-00526-TSC
Jeffery Finley,                                   *
        Defendant
                                                  *
                 SECOND UNOPPOSED MOTION FOR A THREE DAY EXTENSION
                     OF TIME TO REPORT TO THE FEDERAL INSTITUTION

       Mr. Finley is presently under subpoena to testify at an ongoing trial in this district, United

States v. Nordean, No. 21-cr-175 (TJK). Mr. Finley was scheduled to testify last week but due to

the duration of other witnesses’ testimony, he has yet to be called to testify. He is now scheduled

to testify on March 28, 2023. However, Mr. Finley has been ordered to report to the Bureau of

Prison on March 28, 2023 to begin service of the sentence imposed by this Honorable Court on

February 13, 2023. Undersigned counsel has been informed by the United States that if Mr. Finley

reports to begin service of his sentence it will be nearly impossible that the United States would

be able to have him transported to this district to testify with such short notice.

       Accordingly, this motion respectfully requests that this Honorable Court extend Mr.

Finley’s reporting date to the Bureau of Prison to March 30, 2023. Mr. Finley consents to this

request.


       1.      Undersigned counsel, who represents Zachary Rehl, a defendant in the Nordean

case caused a subpoena to be issued and served on Mr. Finley on December 11, 2022.

       2.      In order to preserve Mr. Rehl’s constitutional rights under the Sixth Amendment

and the Due Process clause to compel witnesses to appear at his trial, Mr. Rehl respectfully requests
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that the Court extend the date for Mr. Finley to report to the Bureau of Prison from March 28, 2023 to

March 30, 2023 so that he may testify.

        3.      AUSA Jason McCullough, who was the lead prosecutor in the instant case as well as the

lead prosecutor in the Nordean case at which Mr. Finley’s testimony is required does not oppose this

request.

        4.      Mr. Finley has stated to undersigned counsel that he consents to the request to extend

his reporting date to March 30, 2023.


        WHEREFORE, for the foregoing reasons, it is respectfully requested that this Honorable Court

grant Mr. Finley an additional extension of his reporting date to and including March 30, 2023.


                                                Respectfully submitted,

                                                /s/
                                                _____________________________________________
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                                                Highland, MD 20777
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                                         CERTIFICATE OF SERVICE

        I hereby certify that a copy of the instant motion was served on all counsel of record via ECF and
on Mr. Finley via email this 27th day of March, 2023.


                                                /s/
                                                _____________________________________________
                                                Carmen D. Hernandez




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